              THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                     CHARLOTTE DIVISION
              CRIMINAL CASE NO. 3:07-cr-00211-MR-2


UNITED STATES OF AMERICA,        )
                                 )
                   Plaintiff,    )
                                 )
         vs.                     )             ORDER
                                 )
                                 )
VICTORIA L. SPROUSE,             )
                                 )
                   Defendant.    )
________________________________ )


     THIS MATTER is before the Court on the Defendant’s Unopposed

Motion to Continue Hearing and Modify Schedule [Doc. 520].

     The Defendant moves for a continuance of the evidentiary hearing,

which is currently scheduled for June 8, 2016. [Doc. 520]. For the reasons

stated by the Defendant, and for cause shown, the Court will grant the motion

to continue and will implement a revised briefing schedule.

     IT IS, THEREFORE, ORDERED that the Defendant’s Unopposed

Motion to Continue Hearing and Modify Schedule [Doc. 520] is GRANTED,

and the evidentiary hearing currently scheduled for June 8, 2016, is hereby

CONTINUED. The parties will be notified of a new date for the hearing.




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      IT IS FURTHER ORDERED that the parties shall exchange subpoena

responses by June 8, 2016; the parties shall file their joint stipulations with

the Court by June 27, 2016; and the parties shall file supplement briefs by

August 1, 2016.

      IT IS SO ORDERED.        Signed: June 1, 2016




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